      Case 1:06-cv-01715-AWI-DLB Document 10 Filed 03/05/07 Page 1 of 1


 1
 2
 3                                 IN THE UNITED STATES DISTRICT COURT
 4                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 5
 6   HECTOR SOLANO,                                  1:06-CV-01715-AWI-DLB-HC
 7                                                   ORDER VACATING FINDINGS
                     Petitioner,                     AND RECOMMENDATION OF
 8                                                   JANUARY 26, 2007
              vs.                                    (Doc. 7)
 9
     DARRELL G. ADAMS,                               ORDER GRANTING IN FORMA PAUPERIS
10                                                   STATUS
                     Respondent.
11                                         /
12            Petitioner is a prisoner proceeding pro se with a petition for writ of habeas corpus pursuant to
13   28 U.S.C. § 2254.
14            On January 26, 2007, the court submitted findings and recommendations to United States
15   District Judge Anthony W. Ishii to dismiss petitioner’s case for failure to comply with the court’s order
16   of December 13, 2006.           On February 20, 2007, petitioner filed objections to the findings and
17   recommendation, explaining that he did not receive the court's order of December 13, 2006, due to his
18   change of address. For this reason, the court's findings and recommendation of January 26, 2007, shall
19   be vacated. In addition, due to changed circumstances, petitioner shall be authorized to proceed in
20   forma pauperis. See 28 U.S.C. § 1915. The petition will be screened in due course.
21            Accordingly, IT IS HEREBY ORDERED that:
22            1.     The court's findings and recommendation of January 26, 2007, are VACATED in their
23                   entirety, and
24            2.     Petitioner is AUTHORIZED to proceed in forma pauperis.
25            IT IS SO ORDERED.
26             Dated:     March 5, 2007                         /s/ Dennis L. Beck
     23ehd0                                               UNITED STATES MAGISTRATE JUDGE
27
28
